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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                 BEAUFORT DIVISION

United States of America and The States        )         Civil Action No. 9:14-cv-3699-RMG
of California and Illinois, ex rel. Scarlett   )
Lutz and Kayla Webster,                        )
                                               )               ORDER AND OPINION
                Plaintiffs/Relaters,           )
                                               )
        V.                                     )
                                               )
Laboratory Corporation of America              )
Holdings,                                      )
                                               )
                Defendant.                     )


        This matter is before the Court on Defendant Laboratory Corporation of America

Holdings' ("LabCorp") partial motion to dismiss the fourth amended complaint ("F AC") under

Federal Rules of Civil Procedure 9(b) and 12(b)(6). (Dkt. No. 60.) For the reasons below,

LabCorp' s motion to dismiss is granted in part and denied in part.

I.      Background

        Relaters Scarlett Lutz and Kayla Webster ("Relaters") filed a qui tam complaint in 2013

alleging violations of the False Claims Act ("FCA"), 31 U.S.C. § 3729 and multiple state statutes

against LabCorp and other defendants. The claims against Defendant LabCorp were eventually

severed from the claims against the other defendants. On June 26, 2018, the Relaters filed their

Fourth Amended Complaint, alleging that LabCorp violated the FCA through several fraudulent

schemes impacting government health care programs, such as billing for medically unnecessary

tests and paying kickbacks to physicians for ordering tests from LabCorp, and that it did so as part

of a conspiracy with two other laboratories: Health Diagnostic Laboratory, Inc. ("HDL'') and

Singulex, Inc. ("Singulex"). In addition to claims under the FCA, Relaters brought claims under

the California Insurance Frauds Prevention Act ("CIFP A"), Cal. Ins. Code § 1871. 7, and the


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Illinois Insurance Claims Fraud Prevention Act ("ICFPA"), 740 Ill. Comp. Stat. Ann. 92/15, both

of which allow interested persons to bring a qui tam suit for fraudulent claims submitted to private

insurers. Neither the federal government nor any state government has decided to intervene in this

qui tam action as of the date of this order. 1

        Defendant LabCorp now seeks the dismissal of most claims brought by the Relators. First,

LabCorp argues that the FAC fails to state a cause of action against LabCorp for submitting claims

for medically unnecessary tests. Second, LabCorp argues that Relators' claim for reverse false

claims liability, Count II, is duplicative and fails to allege the claim with particularity, as required

by Rule 9(b). Third, LabCorp argues that the Relators lack standing to bring claims under the

CIFP A or ICFP A since they are not "interested persons" and, regardless, the claims fail under 9(b).

Finally, LabCorp argues that the conspiracy claims fail under 9(b). LabCorp's motion does not

seek dismissal of the claims based on alleged kickbacks paid to ensure that doctors referred and

ordered lab tests. (Dkt. No. 60 at 3.) Relators oppose the motion. (Dkt. No. 63.)

II.     Legal Standard

        A. Motion to Dismiss

        Rule 12(b)( 6) of the Federal Rules of Civil Procedure permits the dismissal of an action if

the complaint fails "to state a claim upon which relief can be granted." Such a motion tests the

legal sufficiency of the complaint and "does not resolve contests surrounding the facts, the merits

of the claim, or the applicability of defenses .... Our inquiry then is limited to whether the

allegations constitute 'a short and plain statement of the claim showing that the pleader is entitled

to relief."' Republican Party ofNC. v. Martin, 980 F.2d 943,952 (4th Cir. 1992)(quotation marks


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  The United States expressly declined to intervene in the case. (Dkt. No. 30.) The Court draws
no inference about the merits of the Relators' allegations based on the Government's decision not
to intervene. See US. ex rel. Berge v. Bd of Trustees of the Univ. of Alabama, 104 F.3d 1453,
1458 (4th Cir. 1997).

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and citation omitted). In a Rule 12(b)(6) motion, the Court is obligated to "assume the truth of all

facts alleged in the complaint and the existence of any fact that can be proved, consistent with the

complaint's allegations." E. Shore Mkts., Inc. v. J.D. Assocs. Ltd. P'ship, 213 F.3d 175, 180 (4th

Cir. 2000). However, while the Court must accept the facts in a light most favorable to the non-

moving party, it "need not accept as true unwarranted inferences, unreasonable conclusions, or

arguments." Id.

       To survive a motion to dismiss, the complaint must state "enough facts to state a claim to

relief that is plausible on its face." Bell At/. Corp. v. Twombly, 550 U.S. 544,570 (2007). Although

the requirement of plausibility does not impose a probability requirement at this stage, the

complaint must show more than a "sheer possibility that a defendant has acted unlawfully."

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A complaint has "facial plausibility" where the

pleading "allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged." Id.

       B. Pleading Fraud with Particularity - Rule 9(b)

       A complaint alleging fraud "must state with particularity the circumstances constituting

fraud." Fed. R. Civ. P. 9(b). However, "[m]alice, intent, knowledge, and other conditions of a

person's mind may be alleged generally." Id. To meet this standard, the complaint must describe

"the time, place, and contents of the false representations, as well as the identity of the person

making the misrepresentation and what he obtained thereby." US. ex rel. Wilson v. Kellogg Brown

& Root, Inc., 525 F.3d 370, 379 (4th Cir. 2008) (citations omitted). In other words, the complaint

must describe the "who, what, when, where, and how of the alleged fraud." Id. (citations omitted).

       Finally, "[a] court should hesitate to dismiss a complaint under Rule 9(b) if the court is

satisfied (1) that the defendant has been made aware of the particular circumstances for which she




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will have to prepare a defense at trial, and (2) that plaintiff has substantial pre-discovery evidence

of those facts." Harrison v. Westinghouse Savannah River Co., 176 F.3d 776, 784 (4th Cir. 1999).

Rule 9(b) also requires a complaint to include "some indicia of reliability" to "support the

allegation that an actual false claim was presented to the government." Nathan, 707 F.3d at 457

(citation omitted).   A complaint provides the requisite indicia of reliability where "specific

allegations of the defendant's fraudulent conduct necessarily [lead] to the plausible inference that

false claims were presented to the government." Id.

III.     Discussion

         A. Claims Based on Medically Unnecessary Testing

         Relators have not alleged that LabCorp encouraged any medically unnecessary testing, and

therefore the Court grants the motion to dismiss all claims based upon this theory. Under 42 U.S.C.

§ 1395y(a)(l )(A), the federal government will not reimburse a Medicare claim unless the services

at issue were "reasonable and necessary." It follows that "claims for medically unnecessary

treatment are actionable under the FCA." US. ex rel. Riley v. St. Luke's Episcopal Hosp., 355

F.3d 370,376 (5th Cir. 2004). Relators allege that LabCorp improperly encouraged physicians to

order medically unnecessary testing by informing at least one physician, Dr. Lloyd Miller, that

LabCorp would only draw blood for free if the doctor also ordered testing from LabCorp and

providing doctors with a space marked "other" on the LabCorp requisition form, causing doctors

to order unnecessary and sometimes duplicative testing. (Dkt. Nos. 50 at ,i,i 361 - 369; 63 at 13 -

14.)    Relators also allege that LabCorp caused medically unnecessary testing by providing

physicians with in-office phlebotomists who provided blood draws for blood samples referred to

HDL and Singulex after LabCorp already knew they were engaged in fraud. (Dkt. Nos. 50 at ,r,r

499 - 513; 63 at 12 -13.) LabCorp, however, argues that these claims are legally insufficient as




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the Complaint alleges it was doctors, rather than LabCorp, that ordered the tests and LabCorp

never certified the necessity of the tests. (Dkt. No. 60-1 at 9- 13.)

        In submitting a claim for reimbursement, "a laboratory generally may rely on that doctor's

order in submitting a claim for reimbursement as medically necessary." United States v. Bertram,

900 F.3d 743, 750 (6th Cir. 2018). However, this rule is not universal, and there can still be a FCA

violation where a laboratory "engage[s] in a scheme to encourage ... physicians to order medically

unnecessary tests .... " See United States ex rel. Groat v. Boston Heart Diagnostics Corp., 296 F.

Supp. 3d 155, 165 (D.D.C. 2017). Here, Relators have not alleged that LabCorp encouraged any

medically unnecessary testing. Instead, they have alleged that LabCorp incentivized doctors, such

as Dr. Miller, to use its services by waiving a $5.00 fee for blood draws if a test is referred to them

and making it easy to do so by including an "other field" to be used for tests to other laboratories.

This claim alleges that LabCorp financially induced doctors to refer tests to LabCorp but does not

allege that LabCorp encouraged specific tests for patients which were medically unnecessary.

Similarly, while Relators allege that LabCorp knew that HDL offered above-market draw fees

dating back to 2010, they do not allege that LabCorp knew that blood draws provided for HDL

and Singulex were inherently medically unnecessary. (See FAC at~~ 262 - 265.)

       These allegations stand in contrast to cases in which laboratories were leading doctors to

order a specific, and unnecessary, testing regime. See, e.g. United States ex rel. Groat v. Boston

Heart Diagnostics Corp., 255 F. Supp. 3d 13, 29 (D.D.C. 2017), amended on reconsideration in

part, 296 F. Supp. 3d 155 (D.D.C. 2017) (collecting cases) (denying request to dismiss where

Defendant allegedly provided physicians with "pre-printed test requisition forms" that would

"group together only a few medically justified tests with many medically unnecessary tests" and

made "marketing statements as to the benefits of and scientific validation of its tests .... "); United




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States v. Berkeley Heart/ab, Inc., 225 F. Supp. 3d 487, 500 (D.S.C. 2016) (Gergel, J.) (denying

motion to dismiss where panels Defendants offered to physicians identified "particular genetic

testing that is medically unnecessary for the vast majority of the population"); US. ex rel. Downy

v. Corning, Inc., 118 F. Supp. 2d 1160, 1166 (D.N.M. 2000) (denying motion to dismiss where

laboratory combined unnecessary PAP test onto line for PSA test).

       Here, by contrast, while LabCorp allegedly encouraged physicians to order LabCorp tests

in general, and the Complaint still leaves the decision of which test to request to the ordering

physician. Instead, the issue of whether LabCorp financially induced physicians to refer tests to

LabCorp is covered under Relators' kickback claims, which is not at issue in this Order. Relators'

claims alleging medically unnecessary tests are therefore dismissed.

       B. Reverse False Claims

       As this Court explained in a related case, "[t]he retention of proceeds provision of the FCA

(often referred to as the 'reverse false claims' provision) imposes liability on anyone who

'knowingly makes, uses, or causes to be made or used, a false record or statement material to an

obligation to pay or transmit money or property to the Government, or knowingly conceals or

knowingly and improperly avoids or decreases an obligation to pay or transmit money or property

to the Government."' United States v. Berkeley Heart/ab, Inc., 247 F. Supp. 3d 724, 732 (D.S.C.

2017) citing 31 U.S.C. § 3729(a)(l )(G). In this context, an "obligation" includes "the retention of

any overpayment." Id. citing 31 U.S.C. § 3729(b)(3).

       Relators here allege that LabCorp received improper payments for claims it submitted that

were tainted by violations of the anti-kickback statute. (F AC at 1572.) Relators allege that, since

these payments were made subject to an illegal kickback, LabCorp was required to return these

payments. (Id. at 11167 -68, 590; Dkt. No. 63 at 14-16.) Relators argue that while these claims




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are generally based on the same conduct that support their kickback claims, the reverse false claims

causes of action are pled "in the alternative." (Dkt. No. 63 at 14.) However, it is well settled that

"reverse false claims may not be based on the same conduct as a plaintiffs claims under 31 U .S.C.

§§ 3729(a)(l)(A) and (a)(l)(B)." United States ex rel. Branscome v. Blue Ridge Home Health

Servs., Inc., No. 7:16CV00087, 2018 WL 1309734, at *5 (W.D. Va. Mar. 13, 2018) citing

Pencheng Si v. Laogai Research Found., 71 F. Supp. 3d 73, 97 (D.D.C. 2014). Therefore, as the

Court previously explained, "[u]nder Plaintiffs interpretation 'just about any traditional false

statement or presentment action would give rise to a reverse false claim action .... '" Berkeley

Heart/ab, Inc., 247 F. Supp. 3d at 733. Therefore, LabCorp's motion to dismiss Count II (the

reverse false claims cause of action) is granted.

        C. State Law Claims

        Relators additionally bring claims under the CIFPA and ICFP A, California and Illinois

laws that allow interested persons to bring a qui tam suit for fraud against private insurers.

LabCorp argues that Relators lack standing to bring a qui tam suit for these claims as they are not

"interested persons," as required by the statutes, since the Relators have no connection to LabCorp,

California, Illinois, or any private insurers from those two states. 2 The FAC does not include any

allegations that the Relators, both South Carolina residents, have any personal involvement with

LabCorp, or any actions that took place in California or Illinois. (See FAC at ,i,r14, 47 - 57.)

However, Relators propose that the Relators qualify as "interested persons" because "a potential

relator qualifies as an interested person ... as long as he or she is the original source of the



2
  The two statutes have largely identical language. The California statute, CIFP A, provides that
"Any interested persons, including an insurer, may bring a civil action for a violation of this section
for the person and for the State of California." Cal. Ins. Code § 1871. 7. The Illinois statute,
ICFPA, states that "An interested person, including an insurer, may bring a civil action for a
violation of this Act for the person and for the State of Illinois." 740 Ill. Comp. Stat. Ann. 92/15.


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information, and the lawsuit is not based on allegations previously disclosed in another proceeding

or by the media." (Dkt. No. 63 at 21.) Because of its interest in the litigation, the California

Department of Insurance ("CDI") submitted a Statement of Interest with Relaters' Response,

which argues that an '"interested person' who becomes a relater under the CIFPA does not need

to have a direct interest in the litigation[,]" and instead anyone can qualify as a relater so long the

facts underlying the claim are not already the subject of another case or the person is the original

source of the information. (Dkt. No. 63-1 at 6- 7.)

        Relaters and CDI's arguments would define the phrase "interested person" out of the

statutes. Contrary to the Relaters and CDI's arguments the phrase "interested person" in the

statutes defines who may be a qui tam relater under the statute, making clear that only "interested

person[s] ... may bring a civil action for a violation of this section .... " Cal. Ins. Code§ 1871.7;

740 Ill. Comp. Stat. Ann. 92/15 (emphasis added). The fact, therefore, that a qui tam relater has

"no personal right to recover the damages s[o]ught" and instead it is the "government entities" that

are the real parties in interest does not affect who can serve as that qui tam relater in the first

instance. (Dkt. No. 63 at 20.) Instead, that is determined by the text of the statute.

       While the federal FCA states that a "[a] person may bring a civil action for a violation of

section 3729," California and Illinois' statutes instead define who may serve as a qui tam relater

by stating that the relater must be an "interested person[.]" Id.; 31 U.S.C. § 3730. There is little

case law from either California or Illinois regarding who qualifies as an "interested person" under

the statutes. However, an order from a trial court in Illinois, the Circuit Court of Cook County,

addressed the issue. The court, looking to Merriam Webster's dictionary, stated that "'interested'

is commonly defined as 'being affected or involved."' State ex rel. Zolna-Pitts v. AT/ Holdings,




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Inc., No. 12CH27483, 2013 WL 3779568, at *3 (Ill. Cir. Ct. June 18, 2013) (citation omitted). 3

Applying this definition, the court held that the relator was not an interested person based on her

being a part;icipant in health insurance provided by Blue Cross Blue Shield of Illinois and Aetna

because there was no allegation that "[the defendant] made any false claim to either insurer." Id.

The court, however, held that the relator ultimately qualified as an "interested person" since she

was a former employee of the defendant. Id.

       Neither the Parties nor the CDI have identified any California decisions interpreting the

meaning of "interested persons" under the CIFP A, and the Court similarly has been unable to

locate any California decisions defining the phrase. However, California courts have interpreted

the term "interested person" in other statutes to mean "a person having a direct, and not a merely

consequential, interest in the litigation." Associated Boat Indus. of N. Cal. v. Marshall, 230 P.2d

379,380 (1951), disapproved of on other grounds by Envtl. Prat. Info. Ctr. v. Dep't of Forestry &

Fire Prat., 50 Cal. Rptr. 2d 892 (Cal. Ct. App. 1996) (a party is an "interested person" if either "it

or its members is or may well be impacted by a challenged regulation."). See also Torres v. City

of Yorba Linda, 17 Cal. Rptr. 2d 400, 403-04 (Cal. Ct. App. 1993) ("'interested person' ... is a

person having a direct, and not a merely consequential, interest in the litigation."). These cases,

both from Illinois and California, hold that an individual needs some greater connection to the

litigation than merely being an original source or having a potential to gain a recovery from

pursuing claims under the ICFPA or CIFPA. The court in AT! Holdings, Inc., 2013 WL 3779568,

made this clear when it rejected the argument that the relator was an "interested person" because




3
 The Court in AT! Holdings also noted that the ICFPA "was modeled after the California statute
and the language of the two statutes is substantively identical." Id.


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of her participation in health care plans in Illinois, a more concrete relationship to the submittal of

false claims in Illinois than the Relators allege here.

       Relators and CDI's proposed expansive definition of "interested person" is unpersuasive.

First, the proposed definition is taken from language contained in§ 1871.7(h), which states that a

person may not bring an action if the "allegations or transactions" are already the subject of a

lawsuit or enforcement action in which the state is a party or where the information was already

publicly disclosed unless the person was "an original source of the information." Cal. Ins. Code§

l 871.7(h). While this section provides an important limit on who can serve as a qui tam relator, it

does nothing to define the phrase "interested person" included in § 1871. 7(e).

       Relators and CDI also point to two cases to argue for their more expansive definition of

"interested person." The first, People ex rel. Strathmann v. Acacia Research Corp., 148 Cal. Rptr.

3d 361, 370 (2012), stated that "Strathmann is an 'interested person' bringing this action as a qui

tam relator. 'A qui tam relator is essentially a self-appointed private attorney general, and his

recovery is analogous to a lawyer's contingent fee.'" Id. (citations omitted). Relators argue this

language indicates that Strathmann was an "interested person by virtue of his status as a qui tam

relator." (Dkt. No. 63 at 26.) This, however, puts the cart before the horse, as the phrase

"interested person" defines who may be a qui tam relator. Furthermore, in Strathmann, the relator

was a former employee. Id. at 366. People ex rel. Alzayat v. Hebb, 226 Cal. Rptr. 3d 867 (Ct.

App. 2017), a case relied on extensively by CDI, is similarly unhelpful. The court in Alzayat, a

case determining whether certain claims under CIFPA are barred by the California workers'

compensation statute, clearly holds that CIFPA "does not mandate that the relator has suffered his

or her own injury." Id. at 889. However, a direct injury to Relators is not at issue here and




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otherwise, Alzayat, involving a relater who was an employee of the defendant, provides no

guidance on the definition of "interested person."

        This opinion does not seek to define for California or Illinois precisely the contours of who

qualifies as an "interested person" under their state laws. However, based on case law in Illinois

and California, something more than merely being a source of the information or standing to gain

from any ultimately recovery is required to qualify as an "interested person" under the statutes.

The FAC does not allege that Relaters have any contacts, were employed or were in any other way

affected by or involved in the submission of allegedly false claims and/or kickback tainted claims

in California or Illinois. Therefore, it is clear that the Relaters here are not "interested persons"

under those statutes. The Relaters therefore do not have standing to bring claims under the CIFPA

and ICFPA, and the Court grants LabCorp's motion to dismiss Count III (CIFPA) and Count IV

(ICFPA). 4

       D. Conspiracy Claims

       To state a cause of action for conspiracy under the FCA, "[t]he complaint must allege the

existence of an agreement to violate the FCA and at least one act performed in furtherance of that

agreement." Berkeley Heart/ab, Inc., 225 F. Supp. 3d at 501 citing§ 3726(a)(l)(C). LabCorp

argues that Relaters fail to state a claim for conspiracy since Relaters fail to allege "any agreement

with HDL or Singulex regarding phlebotomy services, much less any agreement concerning the

submission of false claims." (Dkt. No. 60 at 23). LabCorp is incorrect, and Relaters properly pled

a conspiracy claim under the FCA with the particularity requirements of 9(b).




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  The Court also refuses to withhold ruling on the motion to dismiss the CIFP A claim since the
CDI is still investigation the Relaters' allegations. (Dkt. No. 63 at 21.) The CDI clearly has
standing to bring a claim under the CIFP A, § 1871. 7(d), but that is unrelated to whether the
Relaters here have standing as "interested persons" under the statute.


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       LabCorp identified the details of the alleged agreement with HDL, notably a discussion on

March 1, 2013, where LabCorp and HDL executives discussed the "mutually beneficial" issue of

the use of LabCorp's phlebotomists, and a July 21, 2014, "Memorandum of Understanding

between HDL, Inc. and LabCorp" circulated between the companies' executives which discussed

"LabCorp's assistance in providing phlebotomy services .... "        (FAC at   ,r,r   397 - 398, 421.)

Similarly, the FAC alleges that LabCorp had extensive knowledge of HD L's violations of the

FCA, including a kickback scheme with physicians, both before and after the alleged agreement,

and that LabCorp acted in furtherance of the agreement by continuing to provide blood draw

services for HDL referred tests. (Id. at ,r,r 287 - 324, 388, 423.) Regarding Singulex, the FAC

alleges that "[b]y 2012, LabCorp entered into a contract with Singulex to perform some of the tests

in the Singulex panel," which allegedly was related to the blood draws since it "provided LabCorp

with a direct benefit from drawing Singulex samples for referring physicians." (Id. at ,r 436.) The

FAC alleges that by 2013 LabCorp and Singulex "were collaborating to provide testing for

employee health plans .... " (Id. at   ,r 441.)   LabCorp also allegedly knew of Singulex's alleged

kickback scheme with physicians both before and after entering its contract and collaboration with

Singulex. (Id. at ,r,r 262-265, 277, 288.) Finally, the FAC alleges that both before and after these

alleged agreements, LabCorp continuously drew blood for tests that were referred to Singulex.

(Id. at ,r,r 433, 445 - 446.) The FAC therefore alleges that LabCorp entered into an agreement and

continued to draw blood even after knowing about the allegedly illegal kickback scheme.

       Here, the FAC includes allegations of specific agreements entered into between LabCorp

and both Singulex and HDL regarding blood draw services which caused false claims to be

submitted. Regardless, the FAC also unmistakably alleges that LabCorp knew of the Singulex and

HD L's kickback scheme with physicians and continued to draw blood for tests referred to Singulex




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and HDL. By doing so, the FAC also alleges that LabCorp shared the two laboratories' specific

intent to submit false claims and/or kickback tainted claims to government programs. See US. ex

rel. DeCesare v. Americare in Home Nursing, No. 1:05CV696, 2011 WL 607390 (E.D. Va. Feb.

10, 2011) (holding conspiracy was properly pled where complaint alleged defendant "kn[ew], as

of the first letter, that it may be participating in an illegal referral network, such that its continuing

to do so afterwards constituted its assent to the other parties' allegedly illegal agreement.").

Therefore, at this stage, Relators sufficiently pled their conspiracy claim under the FCA.

        E. Amended Complaint

        In their Response, Relators requested leave to amend their complaint. If Relators wish to

amend their complaint, they should file a separate motion under Rule 15(a)(2), attaching the

proposed amended complaint, and identify why "justice so requires."

IV.     Conclusion

        For the foregoing reasons, the Court GRANTS IN PART and DENIES IN

PART Defendant LabCorp's partial Motion to Dismiss.                 (Dkt. No. 60.)      The Motion is

GRANTED as to claims regarding medically unnecessary tests, the cause of action for reverse

false claims liability (Count II), and the causes of action under California law (Count III) and

Illinois law (Count IV), and those claims are DISMISSED. The Motion is DENIED as to Relators

conspiracy claim. 5

        AND IT IS SO ORDERED.




January Jr_, 2019
Charleston, South Carolina

5
 This order does not affect Relators' kickback related claims, which were not a subject of
LabCorp' s Motion to Dismiss.


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